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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                Philadelphia DIVISION


 In re:
                                                              Bankruptcy No. 19-14871
 Anthony Parker
                                                              Chapter 13
           Debtor
 Wilmington Savings Fund Society, FSB, d/b/a Christiana       Hearing Date: March 26, 2020
 Trust, not individually but as trustee for Pretium           Hearing Time: 11:00 AM
 Mortgage Acquisition Trust                                   Location: Courtroom Number #2
       Movant                                                 Philadelphia Division/Nix Building
 v.
 Anthony Parker
           Debtor/Respondent
 WILLIAM C. MILLER, Esquire
          Trustee/Respondent



      NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

         Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as
 trustee for Pretium Mortgage Acquisition Trust, has filed a Motion for Relief from the
 Automatic Stay pursuant to 11 U.S.C. §362(d)(1); for costs and disbursements of this action,
 and for such other and further relief as to the Court may deem just and proper.

          Your rights may be affected. You should read these papers carefully and discuss
          them with your attorney, if you have one in this bankruptcy case. (If you do not
          have an attorney, you may wish to consult an attorney.)


          1. If you do not want the court to grant the relief sought in the Motion or if you
             want the court to consider your views on the motion, then on or before March 9,
             2020 you or your attorney must filed a response to the Motion. (see Instructions
             on next page).

                 (a) File an answer explaining your position at:
                     Courtroom Number #2 Philadelphia Division/Nix Building

          If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
          enough that it will be received on or before the dates stated above; and

                 (b) Mail a copy to the movant’s attorney:
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Sheetal R. Shah-Jani, Esquire
RAS Citron, LLC
130 Clinton Road, Suite 202
Fairfield, NJ 07004

       2. If you or your attorney do not take the steps described in paragraphs 1(a) and 19(b)
          above and attend the hearing, the court may enter an order granting the relief
          requested in the motion.

       3. A hearing on the Motion is scheduled to be held before Chief Judge Magdeline D.
          Coleman on March 26, 2020 at 11:00 AM in Courtroom 2, United States
          Bankruptcy Court, Philadelphia Division/Nix Building. Unless the court orders
          otherwise, the hearing on this contested matter will be an evidentiary hearing.

       4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
          you request a copy from the attorney named in paragraph 1(b).

       5. You may contact the Bankruptcy Clerk’s Office in Philadelphia at 215-408-2800 or
          Reading at 610-208-5040 to find out whether the hearing has been canceled because
          no one filed a response.

Date: February 24, 2020

                                                            BERNSTEIN-BURKLEY, P.C.

                                                            By:/s/ Keri P. Ebeck
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